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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

NOVARTIS PHARMACEUTICAL                  *
CORPORATION,                             *
             Plaintiff,                  *
    v.                                   *     Civ. No.: MJM-24-1557
                                         *
ANTHONY G. BROWN, et al.,                *
                   Defendants.           *
                               * * * * * * * * * *
                                         *
PHARMACEUTICAL RESEARCH AND *
MANUFACTURERS OF AMERICA,                *
                   Plaintiff,            *
     v.                                  *     Civ. No.: MJM-24-1631
                                         *
ANTHONY BROWN, et al.,                   *
                   Defendants.           *
                               * * * * * * * * * *
                                         *
ABBVIE INC., et al.,                     *
                   Plaintiffs,           *
     v.                                  *     Civ. No.: MJM-24-1816
                                         *
ANTHONY G. BROWN, et al.,                *
                   Defendants.           *
                               * * * * * * * * * *
                                         *
ASTRAZENECA PHARMACEUTICALS *
LP,                                      *
                   Plaintiff,            *
     v.                                  *     Civ. No.: MJM-24-1868
                                         *
ANTHONY BROWN, et al.,                   *
                   Defendants.           *
                                         *
                               * * * * * * * * * *

                                            ORDER

       On August 20, 2024, the Court entered an Order consolidating these civil actions pursuant

to Fed. R. Civ. P. 42. ECF No. 47. All further pleadings, motions, memoranda, correspondence,

and other filings in these actions shall be filed in Novartis Pharmaceutical Corporation, et al. v.

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Anthony G. Brown, et al., Civ. No. MJM-24-1557, and bear only the caption and case number for

this case, until further Order of the Court.

       This matter is before the Court on motions for preliminary injunction filed by the plaintiffs,

prior to consolidation, in Novartis Pharmaceutical Corporation v. Anthony G. Brown, et al., Civ.

No. MJM-24-1557 (ECF No. 2); Pharmaceutical Research and Manufacturers of America v.

Anthony Brown, et al., Civ. No. MJM-24-1631 (ECF No. 16); AbbVie Inc., et al. v. Anthony G.

Brown, et al., Civ. No. MJM-24-1816 (ECF No. 2); and AstraZeneca Pharmaceuticals LP v.

Anthony Brown, et al., Civ. No. MJM-24-1868 (ECF No. 29). The Court heard oral argument on

the motion filed by Novartis Pharmaceuticals Corporation on July 1, 2024, and heard oral

argument on the remaining motions on September 4, 2024.

       For reasons stated in open court during the hearing on September 4, 2024, it is by the United

States District Court for the District of Maryland, hereby ORDERED that the plaintiffs’ motions

for preliminary injunction are DENIED.

       It is so ORDERED this 5th day of September 2024.


                                                                         /S/
                                                             Matthew J. Maddox
                                                             United States District Judge




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